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UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
RENE ROSADO,
Plaintiff,
V. CASE NO.: 2:16-cv-05602-SDW-LDW
NCSPLUS, INC.,
Defendant.

 

JOINT STIPULATION OF DISMISSAL
IT IS HEREBY STIPULATED AND AGREED by and between the undersigned counsel
for all parties in the above captioned action, that whereas no party hereto is an infant, incompetent
person for whom a committee has been appointed or conservatee, and no person not a party has an
interest in the subject matter of the action, that this action is dismissed with prejudice and without

costs to either party pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.

Dated: October 11, 2017

 

 

For Plaintiff Rene Rosado For Defendant NCSPlus, Inc.

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/s/ Yaakov Saks /s/ Mark Krassner

Yaakov Saks Mark Krassner

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So Ordered

 

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